 Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 1 of 31 PageID 1




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

STATE OF FLORIDA;
STATE OF ALABAMA;
STATE OF ALASKA;
STATE OF ARIZONA;
STATE OF ARKANSAS;
STATE OF GEORGIA;
STATE OF IDAHO;
STATE OF INDIANA;
STATE OF KANSAS;
STATE OF KENTUCKY;
STATE OF LOUISIANA;
STATE OF MISSISSIPPI;
STATE OF MISSOURI;
STATE OF MONTANA;
STATE OF NEBRASKA;
STATE OF OHIO;
STATE OF OKLAHOMA;
STATE OF SOUTH CAROLINA;
STATE OF UTAH;
STATE OF VIRGINIA;
STATE OF WEST VIRGINIA,

      Plaintiffs,

      v.                                Case No. 22-718

ROCHELLE P. WALENSKY,
Director of the Centers for Disease
Control and Prevention, in her
official capacity; CENTERS FOR
DISEASE CONTROL AND
PREVENTION; SHERRI A.
BERGER, Chief of Staff of the
Centers for Disease Control and
Prevention, in her official capacity;
XAVIER BECERRA, Secretary of
the Department of Health and
Human Services, in his official
capacity; HEALTH AND HUMAN
 Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 2 of 31 PageID 2




SERVICES; DAVID P. PEKOSKE,
Administrator of the Transportation
Security Administration, in his
official capacity;
TRANSPORTATION SECURITY
ADMINISTRATION;
ALEJANDRO MAYORKAS,
Secretary of the Department of
Homeland Security, in his official
capacity; DEPARTMENT OF
HOMELAND SECURITY; the
UNITED STATES OF AMERICA,

      Defendants.
_________________________________/

      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                   INTRODUCTION

       1.     Since the COVID-19 pandemic began, the Centers for Disease Control

and Prevention (CDC) has made “unprecedented assertion[s] of power.” Florida v.

Becerra, 544 F. Supp. 3d 1241, 1270 (M.D. Fla. 2021) (Merryday, J.). It has done so

principally under 42 U.S.C. § 264, a statute authorizing traditional quarantine

measures “directly relate[d] to preventing the interstate spread of disease by

identifying, isolating, and destroying the disease itself.” Alabama Ass’n of Realtors v.

HHS (Alabama Association of Realtors II), 141 S. Ct. 2485, 2488 (2021).

       2.     The CDC has relied on this statute, for example, to prohibit evictions

nationwide, to shut down the nation’s cruise industry for over a year, and to impose

economy-wide mask requirements—including for toddlers as young as two—at

transportation hubs and while traveling on non-private conveyances, which include

aircrafts, trains, road vehicles, and ships.

                                               1
 Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 3 of 31 PageID 3




      3.     “When an agency claims to discover in a long-extant statute an

unheralded power to regulate a significant portion of the American economy, [courts]

typically greet its announcement with a measure of skepticism.” Util. Air Regul. Grp. v.

EPA, 573 U.S. 302, 324 (2014) (quotations omitted). For that reason, the government

has been largely unsuccessful in defending its reading of § 264. See Alabama Ass’n of

Realtors II, 141 S. Ct. at 2485 (invalidating the eviction moratorium); Becerra, 544 F.

Supp. 3d at 1241 (preliminarily enjoining the CDC’s cruise industry restrictions).

      4.     Even after facing loss after loss in federal court, however, the Biden

Administration has displayed a remarkable level of intransigence.

      5.     For example, the CDC renewed the eviction moratorium after five

justices of the Supreme Court signaled it was unlawful and after the President stated

publicly that it would not be renewed in light of the Supreme Court’s decision. See

Alabama Ass’n of Realtors v. HHS (Alabama Association of Realtors I), 141 S. Ct. 2320

(2021); Alabama Ass’n of Realtors v. HHS, No. 20-cv-3377, 2021 WL 3577367, at *2

(D.D.C. Aug. 13, 2021).

      6.     Similarly, the CDC for months continued to apply its cruise industry

restrictions outside of Florida even after a court in this division preliminarily enjoined

them within Florida and even after Alabama Association of Realtors II left the CDC with

no plausible defense of them. The CDC instead took three extensions—totaling 181

days—of the briefing deadline in its appeal and then dismissed that appeal once the

restrictions expired. The only plausible inference from the CDC’s behavior is that the



                                            2
 Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 4 of 31 PageID 4




agency hoped to enforce its plainly unlawful actions for as long as possible while

evading judicial review.

      7.     The CDC’s mask mandate, Requirement for Persons to Wear Masks

While on Conveyances and at Transportation Hubs, 86 Fed. Reg. 8,025 (Feb. 3, 2021),

tracks a similar pattern. It has been seven months since the Supreme Court’s decision

in Alabama Association of Realtors II made clear that the CDC cannot issue economy-

wide mask mandates. More recently, even lockdown States like California have

announced the end of their mask mandates. Still, the CDC unabashedly leaves its

mandate intact.

      8.     Faced with a government that displays outright disdain for the limits on

its power—especially when it comes to the COVID-19 pandemic—Plaintiffs seek

vacatur of that mask mandate and a permanent injunction against its enforcement.

                                      PARTIES

      9.     Plaintiff the State of Florida is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Florida is regulated by the mask mandate, for example, through its state-

owned airports. And the mandate interferes with § 1002.20(3)(n)1.a., Fla. Stat., which

prohibits public schools from “[r]equir[ing] a student to wear a face mask,” including

while traveling on school conveyances.

      10.    Plaintiff the State of Alabama is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its



                                           3
    Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 5 of 31 PageID 5




citizens. Alabama is regulated by the mask mandate, for example, through airports

owned by its political subdivisions.

          11.     Plaintiff the State of Alaska is a sovereign State and has the authority and

responsibility to protect its public fisc and the health, safety, and welfare of its citizens.

Alaska is regulated by the mask mandate, for example, through its state-owned

airports. Alaskans are disproportionately harmed by the mandate because they rely on

aviation to meet basic necessities. Approximately 82% of Alaska’s communities

depend on aviation for year-round access. And it takes around 42 hours to drive from

Anchorage to the closest communities in the lower 48 States.

          12.     Plaintiff the State of Arizona is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Arizona is regulated by the mask mandate, for example, through its state-

owned airport.

          13.     Plaintiff the State of Arkansas is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Arkansas is regulated by the mask mandate, for example, through airports

owned by its political subdivisions. And the mandate interferes with Ark. Code Ann.

§ 20-7-142, which prohibits the State or its political subdivisions from requiring masks. 1

          14.     Plaintiff the State of Georgia is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its


1
    Arkansas is litigating a challenge to this statute, which is currently enjoined.


                                                      4
 Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 6 of 31 PageID 6




citizens. Georgia is regulated by the mask mandate, for example, through its Atlanta-

Region Transit Link Authority, which operates the Xpress bus system.

       15.    Plaintiff the State of Idaho is a sovereign State and has the authority and

responsibility to protect its public fisc and the health, safety, and welfare of its citizens.

Idaho is regulated by the mask mandate, for example, through its state-owned airports.

       16.    Plaintiff the State of Indiana is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Indiana is required to monitor compliance with the mandate due to its

administration of pass-through grants from the Federal Transit Administration (FTA).

The FTA provides federal funding to the Indiana Department of Transportation

which, in turn, provides it to eligible rural transit systems in Indiana for operations

assistance and purchasing vehicles under 49 U.S.C. §§ 5311, 5339. As a condition of

receiving these federal funds, Indiana is required to oversee subrecipients of the funds

and certify compliance with all federal rules, including the mask mandate.

       17.    Plaintiff the State of Kansas is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Kansas is regulated by the mask mandate, for example, through airports

owned by its political subdivisions.

       18.    Plaintiff the State of Kentucky is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Kentucky is regulated by the mask mandate, for example, through airports

owned by its political subdivisions. The Kentucky Legislature is currently considering

                                              5
 Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 7 of 31 PageID 7




legislation that would ban mask mandates in schools. If enacted, the mandate could

interfere with that legislation.

       19.    Plaintiff the State of Louisiana is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Louisiana is regulated by the mask mandate, for example, through ferries run

by the Louisiana Department of Transportation and Development.

       20.    Plaintiff the State of Mississippi is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Mississippi is regulated by the mask mandate, for example, through airports

owned by its political subdivisions.

       21.    Plaintiff the State of Missouri is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Missouri is regulated by the mask mandate, for example, through its state-

owned airports. And the mandate interferes with Mo. Rev. Stat. § 67.265.1, which

limits public health restrictions issued by political subdivisions “in response to an

actual or perceived threat to public health for the purpose of preventing the spread of

a contagious disease.”

       22.    Plaintiff the State of Montana is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Montana is regulated by the mask mandate, for example, through its state-

owned airports.



                                            6
 Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 8 of 31 PageID 8




         23.   Plaintiff the State of Nebraska is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Nebraska is regulated by the mask mandate, for example, through its state-

owned airports.

         24.   Plaintiff the State of Ohio is a sovereign State and has the authority and

responsibility to protect its public fisc and the health, safety, and welfare of its citizens.

Ohio is regulated by the mask mandate, for example, through its state-owned airports.

         25.   Plaintiff the State of Oklahoma is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Oklahoma is regulated by the mask mandate, for example, through airports

owned by its political subdivisions. And the mandate interferes with Okla. Stat. tit. 70,

§ 1210.190, which restricts the issuance of mask mandates by public schools in the

State.

         26.   Plaintiff the State of South Carolina is a sovereign State and has the

authority and responsibility to protect its public fisc and the health, safety, and welfare

of its citizens. South Carolina is regulated by the mask mandate, for example, through

airports owned by its political subdivisions.

         27.   Plaintiff the State of Utah is a sovereign State and has the authority and

responsibility to protect its public fisc and the health, safety, and welfare of its citizens.

Utah is regulated by the mask mandate, for example, through its state-owned airport.

And the mandate interferes with Utah Code § 53G-9-210(5), which prohibits public



                                              7
 Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 9 of 31 PageID 9




schools from “requir[ing] an individual to wear a face covering,” including while

traveling on school conveyances.

       28.    Plaintiff the State of Virginia is a sovereign State and has the authority

and responsibility to protect its public fisc and the health, safety, and welfare of its

citizens. Virginia is regulated by the mask mandate, for example, through its state-

owned airports.

       29.    Plaintiff the State of West Virginia is a sovereign State and has the

authority and responsibility to protect its public fisc and the health, safety, and welfare

of its citizens. West Virginia is regulated by the mask mandate, for example, through

airports owned by its political subdivisions.

       30.    Defendants are the United States, appointed officials of the United States

government, and United States governmental agencies responsible for the challenged

mandate.

       31.    Florida sues Defendant the United States of America under 5 U.S.C.

§§ 702–703 and 28 U.S.C. § 1346.

       32.    Defendant Sherri A. Berger is the Chief of Staff of the CDC. She issued

the mask mandate.

       33.    Defendant CDC is the government entity responsible for the mask

mandate.

       34.    Defendant Rochelle P. Walensky is Director of the CDC.

       35.    Defendant Health and Human Services (HHS) is the agency that oversees

the CDC.

                                            8
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 10 of 31 PageID 10




       36.     Defendant Xavier Becerra is Secretary of HHS.

       37.     Defendant Transportation Security Administration (TSA) is enforcing

the mask mandate.

       38.     Defendant David P. Pekoske is Director of TSA.

       39.     Defendant Department of Homeland Security (DHS) is the agency that

oversees TSA.

       40.     Defendant Alejandro Mayorkas is Secretary of DHS.

                              JURISDICTION AND VENUE

       41.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

1346, 1361 and 5 U.S.C. §§ 702–703.

       42.     The Court is authorized to award the requested declaratory and

injunctive relief under 5 U.S.C. § 706, 28 U.S.C. §§ 1361, 2201–2202, the Constitution,

and the Court’s equitable powers.

       43.     Venue lies in this district pursuant to 28 U.S.C. § 1391(e)(1) because

Plaintiff the State of Florida is a resident of every judicial district in its sovereign

territory, including this district (and division). See California v. Azar, 911 F.3d 558, 570

(9th Cir. 2018).2 Further, because this district is a major transportation hub, a

substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred




2
 Accord Alabama v. U.S. Army Corps of Eng’rs, 382 F. Supp. 2d 1301, 1329 (N.D. Ala. 2005); see also
Atlanta & F.R. Co. v. W. Ry. Co. of Ala., 50 F. 790, 791 (5th Cir. 1892) (explaining that “the state
government . . . resides at every point within the boundaries of the state”).


                                                 9
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 11 of 31 PageID 11




here. There are also two related cases that are pending or were pending in this

division.3

                                 FACTUAL BACKGROUND

              The CDC’s Quarantine Authority and the COVID-19 Pandemic

        44.     Under 42 U.S.C. § 264(a), the CDC “is authorized to make and enforce

such regulations as in [its] judgment are necessary to prevent the introduction,

transmission, or spread of communicable diseases” into the United States or across

state lines. The second sentence of § 264(a) clarifies that, “[f]or purposes of carrying

out and enforcing such regulations, the [CDC] may provide for such inspection,

fumigation, disinfection, sanitation, pest extermination, destruction of animals or

articles found to be so infected or contaminated as to be sources of dangerous infection

to human beings, and other measures, as in [its] judgment may be necessary.”

        45.     Historically, the authority conferred by the first sentence of § 264(a) was

read in light of the specific measures authorized by the second sentence, and the

government used this power for “discrete action[s],” such as “bann[ing] a discrete

item,” “detain[ing]” a ship, or taking other similar measures “distinctly limited in time,

scope, and subject matter.” Becerra, 544 F. Supp. 3d at 1264.


3
  Florida v. Becerra, 8:21-cv-839 (Merryday, J.), is related because there is substantial overlap in the
parties and issues. Three grounds for the preliminary injunction entered in Becerra—lack of statutory
authority under 42 U.S.C. § 264(a), failure to conduct notice and comment, and failure to comply with
42 C.F.R. § 70.2—are presented here on substantially similar facts. Further, Florida and several of the
Defendants—in the context of a motion to enforce the injunction—litigated the interaction between
the mandate challenged here and the Conditional Sailing Order. See Becerra, Dkt. 114. Health Freedom
Defense Fund v. Biden, 8:21-cv-1693 (Mizelle, J.), is related because the plaintiffs in that case challenge
the same government policy.


                                                   10
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 12 of 31 PageID 12




       46.    During the COVID-19 pandemic, however, the CDC began asserting a

broader interpretation of § 264(a), which reads the first sentence of that provision in

isolation to allow the CDC to impose “any measure” that it believes is “necess[ary]”

to “reduce . . . the risk of transmission of a disease.” Id. at 1280.

       47.    In March 2020, for example, the CDC invoked § 264(a) to shut down the

nation’s cruise industry. See No Sail Order and Suspension of Further Embarkation,

85 Fed. Reg. 16,628 (Mar. 24, 2020). The CDC renewed the No Sail Order several

times. It then issued the Conditional Sailing Order which, effective October 30, 2020,

allowed the resumption of sailing only if the industry complied with severe restrictions.

See Framework for Conditional Sailing and Initial Phase COVID-19 Testing

Requirements for Protection of Crew, 85 Fed. Reg. 70,153 (Nov. 4, 2020).

       48.    On September 4, 2020, the CDC invoked § 264(a) to prohibit evictions

nationwide. See Temporary Halt in Residential Evictions to Prevent the Further

Spread of COVID-19, 85 Fed. Reg. 55,292 (Sept. 4, 2020). The CDC extended the

eviction moratorium several times.

       49.    On June 18, 2021, a court in this division preliminary enjoined the CDC’s

Conditional Sailing Order. Becerra, 544 F. Supp. 3d at 1241.

       50.    On August 26, 2021, the Supreme Court invalidated the CDC’s eviction

moratorium, which the Biden Administration surprisingly renewed after five justices

of the Supreme Court signaled it was unlawful and after the President acknowledged

that the Supreme Court’s decision foreclosed the CDC from doing so. Alabama Ass’n

of Realtors I, 141 S. Ct. at 2320; Alabama Ass’n of Realtors, 2021 WL 3577367, at *2.

                                            11
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 13 of 31 PageID 13




       51.    The Court expressly rejected the CDC’s reading of § 264(a). It held that

“the second sentence informs the grant of authority by illustrating the kinds of

measures that could be necessary” and that measures must “directly relate to

preventing the interstate spread of disease by identifying, isolating, and destroying the

disease itself.” Alabama Ass’n of Realtors II, 141 S. Ct. at 2488.

       52.    The Court also held that, “[e]ven if the text were ambiguous, the sheer

scope of the CDC’s claimed authority . . . would counsel against [its] interpretation.”

Id. at 2489. The Court relied on the interpretive principle that Congress speaks clearly

when “authorizing an agency to exercise powers of vast economic and political

significance” and when “it wishes to significantly alter the balance between federal

and state power.” Id. (quotations omitted).

                             The Challenged Mask Mandate

       53.    On February 1, 2021, the CDC issued the mask mandate. See 86 Fed.

Reg. at 8,025.

       54.    The mandate requires any person “traveling on conveyances into and

within the United States” to wear a mask, and it requires masks at “transportation

hubs.” Id. at 8,026.

       55.    “Conveyance[s]” include “aircraft, train[s], road vehicle[s], vessel[s],”

and “other means of transport.” Id. at 8,027.

       56.    Permissible masks include medical masks, N-95 masks, and cloth masks,

and masks may be either “manufactured or homemade.” Id. at 8,027 & n.6.



                                            12
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 14 of 31 PageID 14




      57.    The mandate allows removing one’s mask for certain brief periods, such

as while eating or drinking, while unconscious (but not while asleep), and while

wearing an oxygen mask on an airplane. Id. at 8,027.

      58.    It contains several exemptions, including for “[p]rivate conveyances

operated solely for personal, non-commercial use,” for persons with relevant

disabilities, and for toddlers under two. Id.

      59.    In addition to requiring the wearing of masks, the mandate requires

“[c]onveyance operators” and “[o]perators of transportation hubs” to “use best efforts

to ensure that” individuals comply with the mandate. Id. at 8,026.

      60.    Violation of the mandate carries “criminal penalties,” although the CDC

has announced that it “does not intend to rely primarily on these criminal penalties”

because it “anticipates widespread voluntary compliance.” Id. at 8,030 & n.33.

      61.    The mandate provides only thin reasoning in support of its requirements.

It takes the position that “[a]ppropriately worn masks reduce the spread of COVID-

19—particularly given the evidence of pre-symptomatic and asymptomatic

transmission of COVID-19.” Id. at 8,026.

      62.    It further reasons that “[i]ntrastate transmission of the virus has led to—

and continues to lead to—interstate and international spread of the virus.” Id. at 8,029.

      63.    In an attempt to comply with 42 C.F.R. § 70.2, which requires

consideration of the adequacy of state and local measures, the mandate broadly asserts

that “[a]ny state or territory without sufficient mask-wearing requirements for

transportation systems within its jurisdiction has not taken adequate measures to

                                           13
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 15 of 31 PageID 15




prevent the spread of COVID-19 from such state or territory to another state or

territory.” Id.

       64.    As authority, the mandate relies on § 264(a), as well as 42 C.F.R. §§ 70.2,

71.31(b), and 71.32(b). Id. at 8,026.

       65.    Regarding the notice and comment requirements of the Administrative

Procedure Act (APA), the mandate asserts that it “is not a rule within the meaning of

the [APA] but rather is an emergency action taken under . . . existing authority.” Id.

at 8,030.

       66.    It further states, “[i]n the event that a court determines this Order

qualifies as a rule under the APA, notice and comment and a delay in effective date

are not required because there is good cause to dispense with prior public notice and

comment.” Id.

       67.        Notably, however, the CDC began considering the mask mandate at

least five months before its issuance,4 providing the CDC with more than enough time

to conduct notice and comment.

       68.    On top of that, the CDC still has not allowed for public comment on the

mandate almost fourteen months after its issuance.

       69.    Although the CDC has not updated its mask mandate since February 1,

2021, it has announced that it will “exercis[e] its enforcement discretion” in certain




4
 https://www.forbes.com/sites/tommybeer/2021/01/30/cdc-order-makes-not-wearing-a-mask-on-
public-transportation-a-federal-crime/?sh=3fb7125616d4.


                                           14
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 16 of 31 PageID 16




areas.5 For example, the “CDC is exercising its enforcement discretion to not require

that people wear masks on buses or vans operated by public or private school systems,

including early care and education/child care programs.” 6

         70.    Of course, day care operators who do not forcibly mask toddlers while

traveling on buses or vans still commit a criminal act. Id. at 8,030 & n.33.

                      Harm to Plaintiffs Caused by the Mask Mandate

         71.    Plaintiffs are harmed in several ways by the CDC’s unlawful mandate.

         72.    First, Plaintiffs are regulated by the mandate and subject to fines for non-

compliance. See ¶¶ 9–29. State-owned airports, for example, qualify as “[o]perators of

transportation hubs” and “must use best efforts to ensure that any person entering or

on the premises of the transportation hub wears a mask.” 86 Fed. Reg. at 8,029; cf.

Becerra, 544 F. Supp. 3d at 1253 (“Florida maintains a sovereign and proprietary

interest in protecting” its ports because they “are political subdivisions of the state.”).

The same is true, for example, of public bus transportation. In each instance, Plaintiffs

must expend resources to enforce the mandate. If they do not, they risk criminal and

civil penalties. 86 Fed. Reg. at 8,030 & n.33.

         73.    Second, the mandate harms Plaintiffs’ sovereign interests. Many

Plaintiffs have laws or policies prohibiting or discouraging mask requirements in

contexts where the mask mandate applies. See ¶¶ 9, 13, 18, 21, 25, 27. Florida law,



5
    https://www.cdc.gov/quarantine/masks/mask-travel-guidance.html.
6
    https://www.cdc.gov/quarantine/masks/mask-travel-guidance.html.


                                              15
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 17 of 31 PageID 17




for example, prohibits public schools from “[r]equir[ing] a student to wear a face

mask.” § 1002.20(3)(n)1.a., Fla. Stat. The mandate, however, requires Florida’s public

schools to do so while traveling on conveyances such as school buses. See Florida v.

Nelson, No. 8:21-cv-2524, 2021 WL 6108948, at *9 (M.D. Fla. Dec. 22, 2021)

(Merryday, J.) (“[T]he state suffers sovereign injury when unlawful agency action

preempts state law.” (collecting authorities)). And that harm is not eliminated merely

because the CDC has announced, subject to change at any time, that it is exercising

“enforcement discretion.”

      74.    Third, the mask mandate harms the Plaintiffs’ quasi-sovereign interests

in the health, safety, and welfare of their citizens. Id. at *6–9. Forced masking—

especially for toddlers—causes a variety of negative health consequences, including

psychological harms, reduced oxygenation, reduced sanitation, and delayed speech

development.

      75.    To prevent further harm, Plaintiffs seek relief from this Court.

                                        CLAIMS

                                       COUNT 1

                  Agency action that is not in accordance with law
                and is in excess of authority, in violation of the APA

      76.    Plaintiffs repeat and incorporate by reference ¶¶ 1–75.

      77.    Under the APA, a court must “hold unlawful and set aside agency

action” that is “not in accordance with law” or “in excess of statutory . . . authority,

or limitations, or short of statutory right.” See 5 U.S.C. § 706(2)(A), (C).


                                           16
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 18 of 31 PageID 18




        78.   The mask mandate exceeds CDC’s authority under § 264(a) in several

ways.

        79.   First, § 264(a) does not authorize economy-wide measures, only “discrete

action[s],” such as “bann[ing] a discrete item,” detain[ing]” a ship, or taking other

similar measures “distinctly limited in time, scope, and subject matter.” Becerra, 544

F. Supp. 3d at 1264.

        80.   Second, and relatedly, § 264(a) authorizes only measures “directly

relate[d] to preventing the interstate spread of disease by identifying, isolating, and

destroying the disease itself.” Alabama Ass’n of Realtors II, 141 S. Ct. at 2488. It does

not authorize prophylactic mask requirements for individuals who show no sign of

infection.

        81.   Third, the mandate barely gestures at § 264(a)’s requirement that

measures be designed to prevent the interstate spread of communicable disease. 86 Fed.

Reg. at 8,029. It provides no explanation, for example, of how wearing a mask on an

intracity bus trip in Gainesville prevents the interstate spread of COVID-19. Insofar as

the mandate does not exceed Congress’s authority under the Commerce Clause, it at

a minimum fails the statute’s interstate requirement. Cf. United States v. Lopez, 514 U.S.

549, 562–63 (1995) (discussing a lack of congressional findings regarding the effect on

interstate commerce).

        82.   Fourth, several interpretive canons counsel in favor of reading § 264(a)

not to authorize the mandate, including the major questions doctrine, the federalism



                                           17
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 19 of 31 PageID 19




canon, and the canon of constitutional avoidance. See Alabama Ass’n of Realtors II, 141

S. Ct. at 2489.

        83.     The mask mandate is contrary to law.

                                               COUNT 2

              Arbitrary and capricious agency action in violation of the APA

        84.     Plaintiffs repeat and incorporate by reference ¶¶ 1–75.

        85.     Under the APA, a court must “hold unlawful and set aside agency

action” that is “arbitrary [or] capricious.” 5 U.S.C. § 706(2)(A).

        86.     The mask mandate is arbitrary and capricious for several reasons.

        87.     First, the mandate’s rationale is paper thin. See Motor Vehicle Mfrs. Ass’n

of U.S. v State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). In a conclusory fashion,

the mandate asserts that “[a]ppropriately worn masks reduce the spread of COVID-

19—particularly given the evidence of pre-symptomatic and asymptomatic

transmission of COVID-19.” 86 Fed. Reg. at 8,026. But the mandate does not

acknowledge, much less discuss, numerous studies reaching different conclusions. 7




7
 See, e.g., Laetitia Canini et al., Surgical Mask to Prevent Influenza Transmission in Households: A Cluster
Randomized Trial, PLOS ONE, Nov. 2010; Henning Bundgaard et al., Effectiveness of Adding a Mask
Recommendation to Other Public Health Measures to Prevent SARS-CoV-2 Infection in Danish Mask Wearers,
ANNALS INTERNAL MED., Nov. 2020; Chandini Raina MacIntyre et al., Cluster Randomised
Controlled Trial to Examine Medical Mask Use as Source Control for People with Respiratory Illness, BMJ
OPEN, Dec. 2016; Joshua L. Jacobs et al., Use of Surgical Face Masks to Reduce the Incidence of the
Common Cold Among Health Care Workers in Japan: a Randomized Controlled Trial, AM. J. INFECTION
CONTROL, June 2009; Benjamin J. Cowling et al., Preliminary Findings of a Randomized Trial of Non-
Pharmaceutical Interventions to Prevent Influenza Transmission in Households, PLOS ONE, May 2008;
Elaine L. Larson et al., Impact of Non-Pharmaceutical Interventions on URIs and Influenza in Crowded,
Urban Households, PUBLIC HEALTH REPORTS, March-April 2010.


                                                    18
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 20 of 31 PageID 20




         88.    Second, the CDC failed to consider lesser alternatives. DHS v. Regents of

the Univ. of Cal., 140 S. Ct. 1891, 1913–14 (2020). For example, the mandate asserts

that “[i]ntrastate transmission of the virus has led to—and continues to lead to—

interstate and international spread of the virus.” 86 Fed. Reg. at 8,029. But it does not

follow that any intrastate spread will lead to interstate transmission. Put differently,

the CDC should have considered which types of transportation are most likely to

contribute to interstate spread. Instead, the CDC treated buses transporting toddlers to

day care and interstate flights as if they present the same risk of spreading COVID-19

across state lines.

         89.    Similarly, the mandate fails to discuss the lesser alternative of imposing

mask mandates only on older children. The mandate applies to toddlers as young as

two, but the World Health Organization and the United Nations Children’s Fund have

said that masking at this age is affirmatively harmful. “Children aged 5 years and under

should not be required to wear masks. This is based on the safety and overall interest

of the child and the capacity to appropriately use a mask with minimal assistance.” 8

Even for children under 12, mask use should be limited because of the “[p]otential

impact of wearing a mask on learning and psychosocial development.” 9




8
    https://www.euro.who.int/__data/assets/pdf_file/0016/463102/Schooling-COVID19-masks.pdf.
9
    https://www.euro.who.int/__data/assets/pdf_file/0016/463102/Schooling-COVID19-masks.pdf.


                                              19
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 21 of 31 PageID 21




      90.      Third, the mandate neither explains the CDC’s failure to issue a mask

mandate for the first eleven months of the pandemic nor acknowledges the reliance

interests created by that inaction. See Regents, 140 S. Ct. at 1913–14.

      91.      The mask mandate is arbitrary and capricious.

                                        COUNT 3

            Failure to conduct notice and comment in violation of the APA

      92.      Plaintiffs repeat and incorporate by reference ¶¶ 1–75.

      93.      The APA requires notice of, and comment on, agency rules that “affect

individual rights and obligations.” Chrysler Corp. v. Brown, 441 U.S. 281, 303 (1979);

see 5 U.S.C. § 553.

      94.      The mandate asserts that it “is not a rule within the meaning of the [APA]

but rather is an emergency action taken under . . . existing authority.” 86 Fed. Reg. at

8,030. But the mask mandate is quintessentially legislative—it creates new legal

requirements with criminal consequences. Moreover, it “serves as neither a tentative

recommendation nor a suggested guideline nor a declaratory ‘final disposition.’”

Becerra, 544 F. Supp. 3d at 1289.

      95.      The mandate also asserts that, “[i]n the event that a court determines this

Order qualifies as a rule under the APA, notice and comment and a delay in effective

date are not required because there is good cause to dispense with prior public notice

and comment.” 86 Fed. Reg. at 8,030. But the CDC began considering its mask

mandate in September of 2020, perhaps earlier. It cannot invoke the good cause



                                            20
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 22 of 31 PageID 22




exception when it had time to conduct notice and comment and chose not to. See

Becerra, 544 F. Supp. 3d at 1296–97.

      96.      Moreover, it has been nearly fourteen months since the CDC made that

good cause finding. It is one thing to invoke good cause while the agency conducts

notice and comment. It is another to rely on good cause indefinitely. Cf. Biden v.

Missouri, 142 S. Ct. 647, 654 (2022) (accepting the agency’s good cause finding where

it issued an interim rule while immediately commencing notice and comment).

      97.      Notice and comment was required.

                                       COUNT 4

                             Violation of 42 C.F.R. § 70.2

      98.      Plaintiffs repeat and incorporate by reference ¶¶ 1–75.

      99.      Under the APA, a court must “hold unlawful and set aside agency

action” that is “without observance of procedure required by law.” 5 U.S.C.

§ 706(2)(D).

      100. Because the CDC relied on 42 C.F.R. § 70.2, see 86 Fed. Reg. at 8,026, it

was required to consider the adequacy of state and local measures before issuing

measures itself. See Becerra, 544 F. Supp. 3d at 1273.

      101. Instead of doing so, the mandate broadly asserts that “[a]ny state or

territory without sufficient mask-wearing requirements for transportation systems

within its jurisdiction has not taken adequate measures to prevent the spread of




                                           21
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 23 of 31 PageID 23




COVID-19 from such state or territory to another state or territory.” 86 Fed. Reg. at

8,029.

         102. Section 70.2 requires more. The CDC must consider the measures that

States and their subdivisions have implemented and specifically consider their

adequacy to control the interstate spread of COVID-19. The mere assertion that mask

mandates are the only appropriate measure is inadequate.

                                       COUNT 5

                             Violation of the Constitution

         103. Plaintiffs repeat and incorporate by reference ¶¶ 1–75.

         104. In the event that the Court finds that § 264(a) authorizes the mask

mandate, that statute would then give the CDC a general police power, in violation of

the non-delegation doctrine, the Commerce Clause, and the Tenth Amendment.

                                       COUNT 6

                                    Commandeering

         105. Plaintiffs repeat and incorporate by reference ¶¶ 1–75.

         106. The mandate requires state-run conveyances and transportation hubs to

affirmatively enforce the mandate, in violation of the anti-commandeering doctrine.

                                       COUNT 7

              Declaratory judgment that the mask mandate is ultra vires

         107. Plaintiffs repeat and incorporate by reference ¶¶ 1–75.




                                           22
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 24 of 31 PageID 24




      108. For the reasons given in Counts 1–6, Plaintiffs are entitled to a

declaratory judgment that the mask mandate is ultra vires.

                              PRAYER FOR RELIEF

      For these reasons, Plaintiffs ask the Court to:

       a) Hold unlawful and set aside the mask mandate.

       b) Issue permanent injunctive relief enjoining Defendants from enforcing the

          mask mandate.

       c) Issue declaratory relief declaring the mask mandate unlawful.

       d) Award Plaintiffs costs and reasonable attorney’s fees.

       e) Award such other relief as the Court deems equitable and just.




                                          23
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 25 of 31 PageID 25




                             Respectfully submitted,

                             Ashley Moody
                             ATTORNEY GENERAL

                             John Guard (FBN 374600)
                             CHIEF DEPUTY ATTORNEY GENERAL

                             /s/ James H. Percival
                             James H. Percival* (FBN 1016188)
                             DEPUTY ATTORNEY GENERAL OF LEGAL POLICY
                             *Lead Counsel

                             Henry C. Whitaker (FBN 1031175)
                             SOLICITOR GENERAL

                             Daniel Bell (FBN 1008587)
                             CHIEF DEPUTY SOLICITOR GENERAL

                             Jason H. Hilborn (FBN 1008829)
                             DEPUTY SOLICITOR GENERAL

                             Office of the Attorney General
                             The Capitol, Pl-01
                             Tallahassee, Florida 32399-1050
                             (850) 414-3300
                             (850) 410-2672 (fax)
                             james.percival@myfloridalegal.com

                             Counsel for the Plaintiffs




                                       24
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 26 of 31 PageID 26




Other Counsel:10

Steve Marshall
Alabama Attorney General
Edmund G. LaCour Jr.
Solicitor General
Office of the Alabama Attorney General
501 Washington Avenue
Montgomery, AL 36130-0152
(334) 353-2196
edmund.lacour@alabamaag.gov

Treg R. Traylor
Attorney General of Alaska
Charles Edmond Brasington
Assistant Attorney General
1031 West Fourth Avenue, Suite 200
Anchorage, AK 99501
(907) 269-6612
charles.brasington@alaska.gov

Mark Brnovich
Arizona Attorney General
Drew C. Ensign
Deputy Solicitor General
Office of the Arizona Attorney General
2005 N. Central Ave.
Phoenix, AZ 85004
(602) 542-5025
drew.ensign@azag.gov




10
  Counsel for Florida is appearing as counsel of record for all Plaintiffs. Listed other counsel who
wish to appear in this matter will file separate motions to appear pro hac vice, with counsel for Florida
serving as local counsel.


                                                   25
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 27 of 31 PageID 27




Leslie Rutledge
Arkansas Attorney General
Dylan L. Jacobs
Deputy Solicitor General
Office of the Arkansas Attorney General
323 Center Street, Suite 200
Little Rock, Arkansas 72201
(501) 682-3661
dylan.jacobs@arkansasag.gov

Christopher M. Carr
Attorney General of Georgia
Stephen J. Petrany
Solicitor General
Georgia Department of Law
40 Capitol Square, SW
Atlanta, Georgia 30334
(404) 458-3408
spetrany@law.ga.gov

Lawrence G. Wasden
Idaho Attorney General
Dayton Reed
Deputy Attorney General
Office of the Idaho Attorney General
700 W. Jefferson Street
Boise, ID 83720-0010
(208) 334-2400
dayton.reed@ag.idaho.gov

Theodore E. Rokita
Attorney General of Indiana
Thomas M. Fisher
Solicitor General
Office of the Indiana Attorney General
IGC-South, Fifth Floor
302 West Washington Street
Indianapolis, Indiana 46204-2770
(317) 232-6255
tom.fisher@atg.in.gov




                                          26
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 28 of 31 PageID 28




Derek Schmidt
Attorney General of Kansas
Shannon Grammel
Deputy Solicitor General
Office of the Kansas Attorney General
120 SW 10th Avenue, 2nd Floor
Topeka, Kansas 66612
(785) 296-2215
shannon.grammel@ag.ks.gov

Daniel Cameron
Attorney General of Kentucky
Marc Manley
Associate Attorney General
Kentucky Office of the Attorney General
700 Capital Avenue, Suite 118
Frankfort, Kentucky
(502) 696-5478
marc.manley@ky.gov

Jeff Landry
Attorney General of Louisiana
Elizabeth B. Murrill
Solicitor General
Joseph S. St. John
Deputy Solicitor General
Louisiana Department of Justice
1885 N. Third Street
Baton Rouge, LA 70804
(225) 326-6766
murrille@ag.louisiana.gov
stjohnj@ag.louisiana.gov

Lynn Fitch
Attorney General of Mississippi
John V. Coghlan
Deputy Solicitor General
State of Mississippi
Office of the Attorney General
550 High Street
Jackson, MS 39201
(601) 359-3680
john.coghlan@ago.ms.gov

                                          27
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 29 of 31 PageID 29




Eric S. Schmitt
Missouri Attorney General
D. John Sauer
Solicitor General
Jeff P. Johnson
Michael E. Talent
Office of Attorney General
P.O. Box 899
Jefferson City, MO 65102
(573) 751-8870
(573) 751-0774
jeff.johnson@ago.mo.gov

Austin Knudsen
Attorney General
Kristin Hansen
Lieutenant General
David M.S. Dewhirst
Solicitor General
Montana Department of Justice
215 N Sanders
Helena, MT 59601
(406) 444-2026
david.dewhirst@mt.gov

Douglas J. Peterson
Nebraska Attorney General
James A. Campbell
Solicitor General
Office of the Nebraska Attorney General
2115 State Capitol
Lincoln, Nebraska 68509
(402) 471-2682
jim.campbell@nebraska.gov




                                          28
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 30 of 31 PageID 30




Dave Yost
Ohio Attorney General
Benjamin M. Flowers
Ohio Solicitor General
30 E. Broad St., 17th Floor
Columbus, OH 43220
(614) 466-8980
bflowers@ohioago.gov

John M. O’Connor
Oklahoma Attorney General
Bryan Cleveland
Deputy Solicitor General
Office of the Oklahoma Attorney General
313 NE 21st St.
Oklahoma City, OK 73105
(405) 521-3921
bryan.cleveland@oag.ok.gov

Alan Wilson
Attorney General of South Carolina
Thomas T. Hydrick
Assistant Deputy Solicitor General
Post Office Box 11549
Columbia, SC 29211
(803) 734-4127
thomashydrick@scag.gov

Sean D. Reyes
Utah Attorney General
Melissa Holyoak
Utah Solicitor General
350 N. State Street, Suite 230
P.O. Box 142320
Salt Lake City, UT 84114-2320
(801) 538-9600
melissaholyoak@agutah.gov




                                      29
Case 8:22-cv-00718-WFJ-JSS Document 1 Filed 03/29/22 Page 31 of 31 PageID 31




Jason S. Miyares
Attorney General of Virginia
Andrew N. Ferguson
Solicitor General
Kevin M. Gallagher
Deputy Solicitor General
Virginia Office of the Attorney General
202 North Ninth Street
Richmond, VA 23219
(804) 786-7704
aferguson@oag.state.va.us

Patrick Morrisey
Attorney General of West Virginia
Lindsay S. See
Solicitor General
Office of the Attorney General of West Virginia
State Capitol Complex
Building 1, Room E-26
Charleston, WV 25301
(304) 558-2021
lindsay.s.see@wvago.gov




                                          30
